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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS

 PLANNED PARENTHOOD OF ARKANSAS
 & EASTERN OKLAHOMA, d/b/a PLANNED
 PARENTHOOD GREAT PLAINS; JANE
 DOE #1; JANE DOE #2; and JANE DOE #3,
 on their behalf and all others similarly situated,

                         Plaintiffs,
                                                      No. 4:15-cv-00566-KGB
 v.

 CINDY GILLESPIE, Director, Arkansas
 Department of Human Services, in her Official
 Capacity,

                         Defendant.


                    JOINT STIPULATION OF VOLUNTARY DISMISSAL

         Pursuant to Federal Rules of Civil Procedure 41 and 23, Plaintiffs Planned Parenthood of

Arkansas & Eastern Oklahoma and Jane Does #1–3 and Defendant Cindy Gillespie respectfully

and jointly submit this Stipulation of Voluntary Dismissal. The parties stipulate as follows:

      1) Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties agree

         to dismiss this action without prejudice, with each party to bear its own costs and fees.

      2) Rule 23(e) of the Federal Rules of Civil Procedure requires that “[t]he claims, issues, or

         defenses of a certified class . . . may be settled, voluntarily dismissed, or compromised only

         with the court’s approval.” The parties respectfully request that the Court approve this

         stipulated dismissal.

      3) The parties agree that the Court need not give notice of the proposed voluntary dismissal

         to the class under Rule 23(e)(1) because if class members were to determine that they had

         claims to pursue they would not be bound by the parties’ voluntary dismissal without
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       prejudice. Further, the class was certified under Rule 23(b)(2) and notice was not issued

       upon class certification; lack of notice of voluntary dismissal will not prejudice absent class

       members, who did not receive actual notice of this action. As the Court is aware, patients

       insured through the Medicaid program have not been able to access Medicaid services at

       Plaintiff Planned Parenthood of Arkansas & Eastern Oklahoma since January of 2018.

       Dismissal of the case thus presents no practical change in their circumstances, and absent

       class members will not be prejudiced by dismissal.

    4) The parties agree that a hearing is not necessary and respectfully request the Court approve

       dismissal without holding such a hearing. Rule 23(e)(2) authorizes the Court to hold a

       hearing if the stipulated dismissal would bind class members. For the reasons stated above,

       class members are not bound and no hearing is needed.

    5) The parties agree that Rule 23(e)(3)’s requirement that the “parties seeking approval [] file

       a statement identifying any agreement made in connection with their proposal” is satisfied

       by this Stipulation. No separate agreement or settlement has been made in connection with

       the voluntary dismissal, rather the entirety of the parties’ agreement is contained in this

       stipulation. 1

       The parties respectfully submit this Stipulation and request that the Court approve

dismissal without prejudice and find that a hearing and notice of dismissal are not necessary under

Rule 23(e).




1
 The parties also agree that the remaining procedures outlined in Rule 23(e) do not apply here.
See Fed. R. Civ. P. 23(e)(4)–(5).

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                                          Respectfully submitted,

Dated: July 7, 2022                       /s/ Jennifer Sandman
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